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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                   4:09CR3031
                                             )
              V.                             )
                                             )
MICHAEL KONING, LOWELL                       )                      ORDER
BAISDEN, SUSAN BAISDEN-                      )
KONING,                                      )
                                             )
                     Defendants.             )
                                             )


        IT IS ORDERED that the plaintiff’s motion to extend time to file response (filing 128)
is granted. The plaintiff’s responsive brief to the defendants’ objections are due on or before
October 5, 2010.

       DATED this 29th day of September, 2010.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
